     Case 2:90-cv-00520-KJM-DB Document 7945 Filed 09/14/23 Page 1 of 3


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11
                                      UNITED STATES DISTRICT COURT
12
                                      EASTERN DISTRICT OF CALIFORNIA
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14
     RALPH COLEMAN, et al.,                          Case No. 2:90-CV-00520-KJM-DB
15
                        Plaintiffs,                  STIPULATION AND [PROPOSED]
16                                                   ORDER EXTENDING DEADLINE
                   v.                                FOR JOINT REPORT REGARDING
17                                                   INPATIENT TRANSFER TIMELINES
     GAVIN NEWSOM, et al.,
18                                                   Judge: Hon. Kimberly J. Mueller
                        Defendants.
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     [4357662.3]

         STIPULATION AND [PROPOSED] ORDER EXTENDING DEADLINE FOR JOINT REPORT REGARDING
                                  INPATIENT TRANSFER TIMELINES
     Case 2:90-cv-00520-KJM-DB Document 7945 Filed 09/14/23 Page 2 of 3


 1                 On August 11, 2023, the Court converted the previously scheduled enforcement
 2 proceedings on transfer timelines for inpatient care to a “hearing covering essential updates
 3 on defendants’ progress toward compliance with this important component of the remedy.”
 4 Order, Aug. 11, 2023, ECF No. 7916 at 3. The Court ordered the parties to file a joint
 5 report regarding the inpatient transfer timeline issue by noon on September 19, 2023. Id.
 6                 The parties have met and conferred and jointly request an extension of time until
 7 September 26, 2023 to file the joint report. A one-week extension would allow counsel for
 8 both parties to have adequate time to prepare the joint report while also preparing for the
 9 contempt hearing regarding staffing and completing all of the other necessary day-to-day
10 work in the case, including the ongoing data remediation process. The parties also do not
11 anticipate that the focused hearing on inpatient transfers will occur until at least 6 court
12 days after the start of the contempt proceedings, in light of the proposed schedule for
13 testimony. See ECF No. 7941.
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     [4357662.3]
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         STIPULATION AND [PROPOSED] ORDER EXTENDING DEADLINE FOR JOINT REPORT REGARDING
                                  INPATIENT TRANSFER TIMELINES
     Case 2:90-cv-00520-KJM-DB Document 7945 Filed 09/14/23 Page 3 of 3


1                  As such, the parties do not believe that the requested extension will unduly delay
2 the Court’s ability to prepare for the hearing on inpatient transfer timelines, which this
3 Court has signaled will immediately follow the staffing contempt proceedings.
4
     DATED: September 14, 2023                     Respectfully submitted,
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6                                                  ROSEN BIEN GALVAN & GRUNFELD LLP

7
                                                   By: /s/ Jenny S. Yelin
8                                                      Jenny S. Yelin
9
                                                   Attorneys for Plaintiffs
10
11 DATED: September 14, 2023                       ROB BONTA, ATTORNEY GENERAL OF
                                                   CALIFORNIA
12
13
                                                   By: /s/ Elise Thorn
14                                                     Elise Thorn
15
                                                   Attorneys for Defendants
16
17                                           [PROPOSED] ORDER
18
                   The parties are granted an extension to September 26, 2023 to file the joint report
19
     regarding inpatient transfer timelines that is required by the Court’s August 11, 2023
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     Order, ECF No. 7916.
21
                   IT IS SO ORDERED.
22
23 DATED: ____________, 2023
                                                      Kimberly J. Mueller
24
                                                      Chief United States District Judge
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     [4357662.3]
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         STIPULATION AND [PROPOSED] ORDER EXTENDING DEADLINE FOR JOINT REPORT REGARDING
                                  INPATIENT TRANSFER TIMELINES
